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                      UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


 FRANKLIN J. SALCEDO,                      )
                                           )
                         PLAINTIFF         )
                                           )
 V.                                        )       CIVIL NO. 2:19-CV-66-DBH
                                           )
 WILLIAM KING,     ET AL.,                 )
                                           )
                         DEFENDANTS        )


                     ORDER OF DISMISSAL OF LAWSUIT


      On July 16, 2019, I adopted the Magistrate Judge’s Recommended

Decision of June 20, 2019, in this case, because the pro se plaintiff had not

objected to the Recommended Decision, (ECF No. 19).           My adoption of the

Recommended Decision dismissed the plaintiff’s right to privacy claim but

allowed him to proceed on his deliberate indifference claim. Given his failure to

respond to the Recommended Decision of June 20, I noted that the plaintiff was

no longer at the Cumberland County Jail (where the Clerk’s Office had sent the

Recommended Decision and received it returned as undeliverable, (ECF Nos. 17,

18)). But on June 24, the plaintiff had provided by phone to the Clerk’s Office a

new address, (ECF No. 16), and the Clerk’s Office forwarded the Magistrate

Judge’s Recommended Decision there on July 1 & 2, 2019. See Clerk’s Office

entry, (ECF Nos. 17, 18). Since the plaintiff still failed to respond, even with the

new address, I ordered him to show cause within 21 days why his lawsuit should

not be dismissed for lack of prosecution under Local Rule 41.1(b), (ECF No. 19).
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      In response to the Order, on August 6, 2019, the plaintiff provided a

second new address, (ECF No. 21), that the Clerk’s Office now is using, and also

requested an extension of 30 days, (ECF No. 23). I granted his request for an

extension that same day, (ECF No. 24). But he has made no further filings, and

it appears that no defendant has been served.

      Accordingly, I now DISMISS the lawsuit    WITHOUT PREJUDICE   for lack of

prosecution. See Local Rule 41.1(b).

      SO ORDERED.

      DATED THIS 18TH DAY OF SEPTEMBER, 2019

                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




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